             Case 2:20-cv-01529-BJR Document 32 Filed 09/28/21 Page 1 of 3




 1                                                                 The Honorable Barbara J. Rothstein

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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9
     AMANDA SCHICK,                                     )
10                                                      )
                            Plaintiff,                  )    NO. 2:20-CV-1529-BJR
11                                                      )
                    v.                                  )    STIPULATION AND
12                                                      )    [PROPOSED]
     STUDENT LOAN SOLUTIONS, LLC,                       )    ORDER OF DISMISSAL WITH
13                                                      )    PREJUDICE
                            Defendant.                  )
14                                                      )
                                                        )
15                                                      )
                                                        )
16
                                             STIPULATION
17
            The parties, by and through undersigned counsel, hereby stipulate that this action and all
18
     claims herein shall be dismissed with prejudice and without an award of fees or costs to any party.
19

20
            DATED September 28, 2021.
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                                                                                 Anderson | Santiago
     STIPULATION AND ORDER OF DISMISSAL WITH                               787 M AYNARD A VENUE S OUTH
     PREJUDICE (2:20-CV-1529-BJR) — 1                                          S EATTLE , WA 98104
                                                                                  (206) 395-2665
             Case 2:20-cv-01529-BJR Document 32 Filed 09/28/21 Page 2 of 3




 1    THE O’MEARA LAW OFFICE                           ANDERSON SANTIAGO, PLLC
      Attorney for Defendant                           Attorneys for Plaintiff
 2
      By /s/ Michael O’Meara                           By /s/ T. Tyler Santiago
 3    Michael O’Meara, WSBA #41502                     T. Tyler Santiago, WSBA #46004

 4    THE ECHOLS FIRM, LLC

 5    By: /s/ Chad Echols
      Chad Echols (Admitted Pro Hac Vice)
 6

 7                                                ORDER

 8          This matter having come on for consideration on the foregoing Stipulation of the

 9   parties, the Court orders as follows:

10          ORDERED, ADJUDGED and DECREED that all claims herein are dismissed with

11   prejudice and without an award of fees or costs to any party.

12          IT IS SO ORDERED.

13          DATED this ______ day of _______________, 2021.

14

15                                                         Barbara J. Rothstein
                                                           United States District Court Judge
16
     Jointly presented by:
17
     ANDERSON SANTIAGO, PLLC
18   Attorneys for Plaintiff

19   By /s/ T. Tyler Santiago
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                                                                                Anderson | Santiago
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            Case 2:20-cv-01529-BJR Document 32 Filed 09/28/21 Page 3 of 3




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 5   THE ECHOLS FIRM, LLC

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 7   PO Box 12645
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                                                                Anderson | Santiago
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